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                           OPEN SOURCE JIHAD 1




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(Instructional Manual} Muntasir Media (Unofficial
#Islamic State) "Open Source # Jihad": Translates #AQAP
Inspired Magazines into Spanish "How To Make a Bomb
in the Kit chen of Your Mom"' #IED

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                                                                           Leading in re search, ana~sis, and data
                                                                           collection to help mitigate risks, tnrorm
                                                                           Security Op s centers, and enhance
                                                                           situational awareness of global
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                                                                     available date to 30 January 2020)


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                          Open Source Jil1ad
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      Un manual para esos que odian a las tir -
      anos; incluyendo tec11icas para hacer bombas,
      medidas de seguridad, tacticas de guerrilla,
      entrenamiento con fusiles y todo = al Jihad.
      • informa l Una pesadilla para las imperialistas naciones
      opresoras El open source Jihad es la peor pesadilla
      de America y SUS aliados.
      • Permite al Musulman entrenar en casa en vez de arri -
      esgar un viaje al extranjero: Ya lo encontrastes, el
      open source Jihad ya esta al alcance de tus manos.
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                        Open Source Jihad
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   A resource 1nanual for those who loathe the ty-
   rants; incl11des bo1nb 1naking techniques, sec11rity
   measures, guerrilla tactics, weapons training and
   all other jihad related activities.
   • informal A disaster for the repressive i111perialis-
   tic nations: The open source jihad is A111erica 's
   worst nightn1are.
   • It allows Muslims to train at ho1ne instead of risk-
   ing a dangerous travel abroad: Look no further, the
   open source jihad is novv at hands reach.
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